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                                    STATEMENT OF FACTS

        On Monday, December 14, 2020, at approximately 6:40 p.m., members of the Metropolitan
Police Department (MPD) Narcotics and Special Investigations Division (NSID) were conducting
a buy bust operation in the 1400 block of North Capitol Street, NW in Washington, D.C. The
defendant, later identified as Tavon Lyles, was inside the Dollar Plus Store. Undercover officers
approached him and asked if he had change for a $100 dollar bill. The defendant pulled out money
to make change and simultaneously pulled out a plastic bag containing several smaller zips
containing a white rock like substance. The undercover officers left the store, discussed what they
saw, and went back in the store and approached the defendant again. The defendant asked how
much they had and undercover officers replied $40. The defendant reached into the inside front
of his pants and pulled out two blue zips containing a white rock like substance and handed them
to UC #3289. The UC handed the defendant two $20 dollar bills of prerecorded currency. The
undercover officers left the store and signaled that the buy was good.

       The arrest team moved in and made contact with the defendant inside the Dollar Plus Store.
The defendant struggled briefly with officers as they tried to place him under arrest. As they were
attempting to handcuff him, Officer Tran felt a hard object in the defendant’s front waistband
which felt like a firearm. Officer Tran patted the defendant down further and confirmed it was a
firearm. He asked the defendant if the firearm was loaded and the defendant said yes. The officers
were ultimately able to handcuff the defendant and remove the firearm from his waistband.

       The firearm that recovered was determined to be a Glock 22 semi-automatic handgun with
a high capacity magazine. When it was recovered, it was loaded with one (1) round of .40 caliber
hollow point ammunition in the chamber and eighteen (18) rounds of hollow point ammunition in
the magazine. There are no firearm or ammunition manufacturers in the District of
Columbia. Therefore, the firearm and ammunition in this case would have traveled in interstate
commerce.

         A further search of the defendant was conduct post arrest. From the right jacket pocket,
officers recovered a clear APPLE plastic bag containing 29 smaller zips containing a white rock
like substance that tested positive for cocaine base, a clear APPLE plastic bag containing 65 blue
zips with a white rock like substance that tested positive for cocaine base, a clear APPLE plastic
bag containing 58 blue zips with a white rock like substance that field tested positive for cocaine
base, a clear plastic twist containing approximately 6.74 grams of a white rock like substance that
field tested positive for cocaine base, a clear plastic twist bag containing approximately 2/11 grams
of tan powder that field tested positive for opiates, six (6) clear zips containing a white powder
substance that field tested positive for fentanyl, thirteen (13) blue zips containing grey powder that
field tested positive for opiates, twelve (12) blue zips containing white powder that tested positive
for fentanyl, one (1) clear zip containing white powder substance that field tested positive for
fentanyl, three (3) blue zips containing a tan powder substance that field tested positive for opiates,
one (1) clear zip containing a plastic twist containing tan powder that field tested positive for
opiates. In addition, officers recovered a total of $1,071 in US Currency from the defendant’s
various pockets. Officer Brown recovered the two (2) $20 dollar bills of MPD pre-recorded
currency from the defendant’s left hand.
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         A criminal history check of Defendant Lyles through the National Crime Information
Center (NCIC) confirmed that the defendant has a prior felony conviction for Possession with
Intent to Distribute 28 grams or more of cocaine base and Possessing a Firearm During a Drug
Trafficking Offense in case number 11-cr-361 in the United States District Court for the District
of Columbia. The defendant was sentenced to sixty (60) months of incarceration for each offense
to run consecutively to each other. Additionally, the defendant was convicted of Possession with
Intent to Distribute a Controlled Substance in a Drug Free Zone While Armed in the Superior
Court for the District of Columbia, case number 2007 CF2 18851. The defendant was sentenced
to thirty (30) months of incarceration. Therefore, the defendant was aware at the time of his arrest
in this case that he had a prior conviction for a crime punishable by more than one year.



                                              _________________________________
                                              OFFICER RYAN TRAN
                                              METROPOLITAN POLICE DEPARTMENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of December, 2020.
                                                                       Zia M. Faruqui
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                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
